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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 28th day of November, 2018, a true and correct copy of the
foregoing was filed with the U.S. District Court ECF/PACER system, which will send an
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